qAO 245C (Rs!, 0lj/05)Arncnd0dJudgmentir 0 Crimind Chjs                                                              (NOTE: Identili Chdnge$
                                                                                                                                           with
         Case
         ShcctI 2:06-cr-20045-PKH                Document 60                  Filed 01/22/09             Page 1 of 6 PageID #: 178 A$reri$l${*))

                                           UuIrBnSreresDtsrRrcrColrnr
                          WESTERN                                       Districtof                                 ARKANSAS
              TJNITED
                    STATESOF AMERICA                                            AMENDED JUT'GMENTIN A CRIMINAL CASE
                                v-
                 CHARI.ES
                        C.CARTER,
                               III                                              CaseNumber:                    2:06CR20045-001
                                                                                IJSMNumber:                    0649E-0r0
Datc of ()riginalJudgment; April 18,?007                                        JosephSelf
(()r Datc of l,{st Amended Judgment)                                            Defendddl's
                                                                                          Attemcy
Reasonfor Amendment:
E    ClorrectioofsdntEnccon Rcnrnnd(18 U.S.C.3?42(D(l) ond(2)l                  I Mrrrlificuliorof Supcrvision            ( l8 t J.S(:, dg 356](c)or l5 8l(e))
                                                                                                              Cor){titior)r
I    RsduetjoD  ofscr]tfllcefor Changed
                                      Clircumstanccs
                                                   (Fcd.R. Crim.                E Moditicalioll oflrnpo$+d lerrn oflntprisoDment    fbr Extruordinury tlnd
     t. l5(btl                                                                    Compelling  Rcflsons (18 U.S.C.g 3582(c)(l))
n    tlorreqlionef gcntcnccby SEntencingCourt(Fsd,R, (}inr, I'.ls(a))           D N4odificf,tion
                                                                                               oflmposedTermof lmnrisonnrcnt            ,Amendmcn(r)
                                                                                                                          tbr Rctroacrive
X    Corectionof$cntcncafor ClcricalMist.lketFed.R. Crim, p, 36)                  to theSenlencinB Cuidelines       g 1582(cX2))
                                                                                                           (l8 U.S.Cl.

                                                                                n    Directl\4orjonto DistriotCourt Pursuanrn     18 U,S,C,g 22550r
                                                                                     E l8 U,S,C,$ 1559(cX7)
                                                                                n    Moditicstior)ofRestitutnrn(lrder {18 U.$.C.g t664)

THE DEFEI\DANT;
        guiltyto count($) Two(2)of theIndictmcnt
I pleaded                                     on December
                                                       21,2006
I plcaded
        noloco[tendere to couht(s)
      which wag scceptedby the coun.
I    wastbundguiltyon count(s)
     aftera pleaofdot guilty.
'Ihe
     defcndantis adiudicatedguilff ofthescoll'enses:
Title & Scction                     Nature of Offense                                                            Offerse Endcd                    Count

2l [J.S.C.g 841(a)(                                   'l
                 l ) and            Distribution
                                               of More han5 Grirnts
                                                                  of Cocaine
                                                                           Base                                     l0/10/2005                       2
(bxlxBXiii)




         'l
        hc dcfendant          asprovidcdin pages?
                   is sentenced                                      of thisjudgrlent. The sentence         within rhc
                                                                                                  is inrposed
statutolyrangeandthe U.S.Sentencing
                                  Cuideline$wcreconsidered
                                                         asadvisory.
I    Thedef'endant
                lrasbeenfoundnot guilty on count(s)
                              'Ihrcc(3)
fi   Corrnt(s)     One(l ) and                E is X arcdismissed
                                                               on thernotionofthc UnitedStates,
                    thattltcdcl'endant
        It is ordered               mustnotiflrthetJnitedSurtes
                                                              Anorneyforthisdi:Jtrict
                                                                                   within30d8ysofanychanAc     residence.
                                                                                                         ofname,
orltailingaddrcssuntilql1fnes,restituri.orr'.costs'lndspecia|fssessmcnt's'imi'osedbythisjiidgrniii|a.crnfy[iro.,tioi
thedefeldant   mustnotifythccourtandUnitedStates aitomeyofmaterialchhngcsin ecoriomic circumstnntes-
                                                                                January?2, 2009
                                                                                Dateof ImpositionofJudgmeflt

                                                                              ! 1SlRoben t'. Oa
                                                                                Signature
                                                                                        ofJudge
                                                                                HonorableRobenT- lfswson,UnhedStatesDistrictJLrdEc
                                                                                NameandThle ofJudgc
                                                                                Januarv
                                                                                      22-2009
                                                                                Dat€
          Case 2:06-cr-20045-PKH            Document 60            Filed 01/22/09     Page 2 of 6 PageID #: 179
AO245C     (R€v0{i/05)AmcndcdJudgDEnt
                                   in aCriminulCusc
           Shrct1- lmprisonnrcnt                                                               (I'loTE:           wilh Astcrisks
                                                                                          Judemenl -   Pusc   f   o    f    L
 DEFENDAN'I':              CHARLESC. CAR'I'ER,III
 CASENUMBER:               2:06CR20045-001

                                                      IMPRISONMENT

       The defendantis hercbyconrmittedto thecustodydf theUnitedStatesBureauof Prisonsto be irnprisoned
                                                                                                      for r
 total tcrmof eighty-four(84) rflonths. Temrto run concuncntlywith sentenceirnposedon July20,2007, in'l'ulsaCounty,OK
 ljistrict CoultCase#CF-2006-4200




 E   Thecounrnakesthe ibllowingrecommendations
                                            to theBureauofPrisons:




 X               is rcmaflded
     The defendant          to the custodyofthe UnitedStatesMarshal.

 tr 'l'hcdet'endant
                 shallsurrenderto theUnitedStatesMflrshalfor thisdishicr:

     trat                                  tr   a.m.     tr    p.ftt.   on
     tr     ar notifiedby the UnitedStatcllMarshal.

 I   lhc dcfcfldantshallsunenderfor sotviccofsentencent the ifistitutiondesignated
                                                                                 by the E]urcauolprisons:
     tr     befbre2 p.m.on

     n      asnotifiodby the UnitedStatesMarshdl.

     tr     asnotifiedby the Probationor PretrialServiccsQflice.



                                                              RETURN
 I haveexecutedthisjudgmentasfollows:




             deliveredon
     Defendant

                                                with n certifiedcopyofthisjudgment.




                                                                                       I'NITEDSTATES
                                                                                                   MARSHAL


                                                                   By
                                                                                    I)F.PUI'YUNITEDSTATESMARSHAI-
At) 245C     Case   2:06-cr-20045-PKH
              (Rcv.06/0J)                             Document
                         AfiendcdJudgmcntin f, CrittriDsl
                                                        L-L\E  60         Filed 01/22/09       Page 3 of 6 PageID #: 180

DEFENDANT:
DEFENDANT:   CHARI.ES
                    C.CARTER,lll
CASENTJMBNR: 2;06CR20045-001
CASENTJMBnR:
                                                         SUPERVISEDRELEASE
tlpon releasefrom itnprisonment,the defendant$hall he otr supervisedreleasefor n tcrm of;         fiv€ (S) y€sl5




      . fhe dglbndanttltusrrcportto theprobationoftjcein thedisftictto whichthedefendant
                                                                                       is released
                                                                                                 within7? hoursofreleascI'romthe
custodyofthe lSureauof Prisoris.
'lhc
     dct'endant
             shallnot cofirmitanotherfederal.state.or localcrimc.
The defeddant$hal!not unlawfully possessa controllcd substance.'l'he ddfcndantshall refrain from any unlawful usc ofa controlled
srbstanct.Thedefendant
                    shalll'dbmitto onedrugtcstwithiiri5 dayiot'eGaiedni mi'riffi;;;i                  il'd ii'iJas-fi*opiii6oi",i'iu[ii*t*
thcrcafter,as detenninedbv the court.

n        fhc abovedrugtestingconditionis suspended,
                                                  basedon thecourt'sd€teminationthatthedefendantposesa low risk of
         fllturesubstrrncc
                        abuse.(Check,if applicable.)
X        Tlte defendant
                     shallnotpossess
                                   I {ireamr,ammunition,destructive
                                                                  devicc,or anyotherdsngerous
                                                                                            weapon.(Chcck,ifapplicable.)
X        Thedefendant
                    shallcooperate
                                 itt the collcctionofDNA as<lirected
                                                                   by th€ prdhationoflicer. (Chcck,ifapplicable.)
I        The dcfcndantshallregisterwith the statesexoffenderregistationats€ncy
                                                                             in thestarcwherethedefendan(
                                                                                                        resides.works.or is r
         studcnt,asdirectedby rhcprobationofficer. (Check,ifapplicablc.)
E        The defcndant
                     shallparticipatein an approvedprogranrfbr domesticviolence.(Check,ifapplicable.)
                 j4CT.Il] ilng-ry;a.fi1e or rc$titution,it is a conditionofsuperviscdreleasethatthedefendant
                                                                                                           pay in accordmccwirh the
"_,^,..,^llllllt
Scneoule  oI Faym{rnts  sheetol thisJudgmet,
    .     I'ht 'lJd'endant
                         mustcomplywith thestandffdconditionsthathavcbeenadoptedby thiscourtaswell aswith anyadditionalconditions
on thc attached   page.

                                          STANDARD CONDITTONSOF SUPERVISION
    l)    thedefendant
                    shallnotleavethejudicialdisfict withoutthepemissionofthe coudor probarion
                                                                                            oltcer;
    2)                     shallrepoftto thc probatiorofficff dndshallsubmita truthtll andcomplcrcwrittenreponwithin rhelirst five daysdf
          ll:^rdejT.{lnt
          eacnmollm;
    3)    thedefendant
                     shallanswerhuthfultyall inquiriesby the ptobationoffrcerandfotlowthe instrucrion$
                                                                                                     ofthe Drobation
                                                                                                                   officy:
    4)    thedefcfldantshallsupporthis or her dependellrs
                                                       andmeetotherfamilyresponsibilities;
    5)                            work rcEularlyat u lawful occupatiol,unle$$excusedby the probationofficer for schooling,training,or othm
          [t _{t-l"J{lllsf:ll
          acceplaote refls0ll$:
    6)    thedefendant
                    shallnotity theprobfltionofticerat leasttendaysprior to anychangein residence
                                                                                                or cmploynenr;
    7)    thedefendantshallrefrainfronrexcCSSivc
                                              useofalcohOlandshall.notpurchaser  possess,
                                                                                        use,CliStribute,
                                                                                                      or administcrany
          co trolledsubstance
                            or anyparaphemaliarelatcdto ary controllcdsub'stancei.
                                                                               iicCpi aJpredcriLeO6y.-iphyrrcran;
    8)    th{idel-endalt
                      shnllnot frequet placeswhue controlledsubgtances
                                                                    are illegfllly$old,used,distributcd,or administered;
    e) !hc detbndantshallnot associatewith-anypersonsengagedin criminalactiviryandshallnot associatcwith atrypersonconvictcdofla
          felony,unlc$sgrantedpermissionto do io'by the fi.oEafionoffiCii:
l0)                              t _aprotation officcr to.visit him or hcr at anytimetrrhohe or elsewhere
                                                                                                        andrhalt permitconfiscation
                                                                                                                                  of any
          [f 9:1":^d3t].,*3]1_S.,Tf
          con flbrrndoDservedrn Dlatn vtcw ot the Drobatioflollicer;
Il)       thc defendant
                     shallnotify theprobationoflicer within seventy4wo
                                                                     hoursofbeingarrtistedor questionerl
                                                                                                      by a lawenforcement
                                                                                                                       0fficcr;
l2)                              enterintoanyagreement
                       jt$l_l11gt.                  to actitsan irformeror a specialagentofa lawenfbrcement
                                                                                                         agcncywithoutthe
          ll.*gF-ry.$jltl
          pennl$stonol IIe court: atld
l3)       asdirectedby thc probationoflicu, thedeferdaxtsh4llnotitythird particsofrisksthatmavbeoccasioned  bv thcdcfcndant's
                                                                                                                            crinrinal
          rccororpersonalnlstory.or characleristic$
                                                 andshallperfiit theprobationofliccrto makesuthnotificationsan-,1
                                                                                                                confirm(hedefbndant's
AO 245C      (Rev.06/0J)Anendcdludsmsntin I L:rinrinfllCase
          Case   2:06-cr-20045-PKH
           Sheel3C - SupErvircd
                              RelsBsr              Document 60             Filed 01/22/09          Page 4 (NOTE:
                                                                                                          of 6 PageID     #: 181
                                                                                                                ldenrifyChcn8cs
                                                                                                                              with Asrcrisks(r))
                                                                                                           Judgment-Ps8c _4_                   o
DEFENDANT;  CHARLESC. CAR'I'ER,III
CASENUMBER; ?:06CR?0045-001

                                        SPECIAL CONDITIONSOF $UPERVISION


l.        ln addition,tothe mand{tory drug testing requirements.the defcndantshall comply with flny rel'ermldccmedappropriateby the U.S.
          FroDaIlonufilcet ldr lfl'Pfltlcnt or out-patlentevsltriltronrtrcfltment,counselingor testing lbr substanceabuse.

2.        Thc.dcfbndal! shall subtnit his person,rc'sidence,placeofernploymenl, Rndvehicle to a searchcorrducledby thc Unitcd States
          l'robatlon Uttlce at a feflsollable'ttlmc and In a reasonabletnflnnerbnscdupon reasonablesuspicionofevidcnce ofviolation ofany
          cordition of supervised.   release. he dcfcndantshall warn any-otherresid;ns th"i thJ'i ptiiilisdiliiay 6e s"Uji"t ru ti:ii"ti i,ir"iuit to
          IlllS Condltlon. fflllure tO SUhmlttO fl SeSfCh  rhay bc groundstbr revocfltion.
AO 245C   Case   2:06-cr-20045-PKH
           (Rev.0d/05)AmEndcd                 Document 60
                            Jud8mcntin a CriminalCr$e
                                                                           Filed 01/22/09        Page 5 of 6 PageID #: 182
            Sheet5 -(:iminel   Monct v Pcn.llties                                                          (NOTE:IdcntilyChanges
                                                                                                                               with Ast€risLs(*))
                                                                                                   jud8menl -   l'f,Ec _tr_of
T)EFENDANT:                       CI IARLESC, CAR'|ER,III
CASENUMBER:                       2:06CR20045-001
                                             CRIMINAL MONETARY PENALTIES
     Thc det'errdant
                  mustpayflrefollowinglotal criminalrnonetarypenattics
                                                                     underthe scheduleof pflymentton Sheet6.
                      AsseSsment                                        Fine                             Rcstitution
TOTALS            $ 100.00                                         $ 2,500.00                          $ -0-


E    Thedeteminationof restitutidnis del'ereduntil                  An AmendedJudgment in a lriminal Case(AO 245C) will bc
     entcrcdaltersuchdetermination.

I    The defendant
                 shallffidkerestitution(includingcommunityrestitution)to the followingpayeesin theamoulr listeclbelow.

     If thedcfendantmakesa panial paymcfltrearhpayeeshallreceivcan approximately proportioned
                                                                                            payment,unlessspecificdorherwisein
     lne"Pl9ltry,
                Pl99l ?l!llc.elt!!gg payment
                                           columnbelow.          pursur
                                                        l'lowever,      I ro l8 U,S.C.$ 3664(i),all nonfederal
                                                                                                             iictims rnustbc paid
     DCrOrerne untteo Stales ls bald

Nanrc of Pflvee                             Tolrl Lallrs*                      tsCgtltlrtion Ordcred                   Priority or Pcrccntaee




TOTALS


D    Restitutionanrountdrdcredpursuantto plenagrccment$
     'l
tr     he dcfdndantmustpay intereston restitutionanda fino of rflorethan$2,500,unle$sthc re$titutionor fine is paidin full bclorethe
     fifteenthdayallerthedateofthejudgmcnt,pursuantto l8 U,$.C.$ 3612(t). All ofthe payftcntoptionson Sheet6 maybcs\rbicct
     to penfllties
                 for dolinquency
                               anddefault,pursuant to l8 U,S.C.$ 361?(g;.

     Thc courtdetemriredthatthc dcfendantdoesnot havsthc abilib,to payinteresr,addit is orderedthar:

     X    the interestrcquirement
                                is waivedfor          X     tjne    I   restirutior..

     E    tJreinterestrcquircment
                                for the        [    fine      H    restitutionis mo<litjedasfollows:


* Findingsfor thetotalaln-ount
                            oflossesarerequircdundcrChapters109A,I I0, I l0A, andI l3A ofTitle l8 for offenses
                                                                                                             comminedon or aftcr
Septembff13,1994,butbeforeApril 23, 1996,
                (Rev.ArnendedJudgmEnt
                                    in e Criminf,lCssc
            Case06/05)
                 2:06-cr-20045-PKH            Document 60               Filed 01/22/09         Page 6 of 6 :PageID    #: 183
                                                                                                            IdentifyChung€s
                                                                                                                          $'ith Astqrisks(*))


DEFENDANT:    CHARLESC, CAR'|ER,III
CASENUMtsEI{: 2:06CIU0045-00
                          |


                                                  SCHEDULEOF PAYMNNTS

Havingassesscd
            thcdct'cndant's
                        abilif topay,payment
                                           of thctotalcrjmi al monetary
                                                                      penalties
                                                                              shallbedueastbllows:
A       X   L[nlp sullrpaymcntof$                          dueiftlmcdiately,
                                                                          balancedue

            E     not lat€rthal                                'oI
            }(    in accordance
                             with tr C,         tr D,     n    E,or     f, F below;or
B t r Payrnent               (ftay bccombined
            to beginimmediately                with tr C,          I I), or E F below);or
C t r Paynentin equnl             (e.g.,weekly,rnonthly,quartdrly)instalhnents
                                                                             of $                                         over a period of
                          (e.9., months or yeflrs), to commence _             (e.g, 30 or 60 days) affer the date of this judgntcnr; or

D       !   Payment in equal                (c.9.,weekly,monthly,quflrterly)inrrtdllments
                                                                                        of $                ovcr a pcriodof
                        (e.9,,monthsor yerrrs),lo commence_(".g.,30              or 60 days)afterreleasefrom ifttpriltonment
                                                                                                                          to a
            termof superuision;or

[ , n Paynentduringthc lcrm ofsuperuisedreleascwill commencewiflrin                   (e.g.,30or 60 days)afterrelea$clrorh
            imprisonment.Th(}courtwill setthe paytnentplanhasedon an assessrnent
                                                                              ofthc dot'endant's
                                                                                              ability to pflyat thattifitc;or
F       X   Spccialinstructions        the ptryftcntof crinlinalmonetarypenalties:
                              regardirrg

            Ifnot paidimmediately,          finarcialpenaltyirnposed
                                 fltY^unp-aid                        shflllbc paidduringthe perioddlincsrccrationat a rateofnot less
            Insnblt-UU.quanefly,
                              or tU:/ooI lne delcndflnts quartertyearnings,whichcveris grearer,AfterincarcetA!ion,
                                                                                                                 nnyunpaidfinancial
            penallySnSllbec{Jmca speclalCOllOlllonOI Supcrylscdreleaseand mflVbe Dffidin monthlv installmentsOt nOIleSSthan l09/oofthe
            defendont'snet monthly householdincottte,,butin no caselsss than $50.0d per ftonth, with the entire balanceto be paid in full one
            morrthpflor to the lenhlnatronot SuDenr'ised
                                                       release.


UDlesstheco_url hascxpresslyordeltdotherwisc,il'thisiudgmentimposesirnprisonment,
                                                                                paynentof criminalmonetary
                                                                                                         penaltiesis dueduring
the penot|..otlmprtso.llmefit.
                            All cnmlnal.monelary. penallics,exceptthosepayrnents
                                                                               madcthroughthe FederalBuieiruof Prisons'InmatE
l lnflncrarKl'Sponstb)llty
                        tsrogram,are madcto theclerk ot the court-
'l
     he defcndanlshallreceivecreditfor all payments
                                                  previouslyrnadetowrtrdanycrirninalmonetarypcnalticsimposed.




E       JointandSeveral

        Def'enda4tandCo-Defendant
                               NamesandCaseNumbcrs(includingdefendant
                                                                    nuftber),JointandSevertrlAffir)unt,andconesponding
        payee.ifappropriate.

                                                                                                            U.S. DISTHICT
                                                                                                                       COUHT
                                                                                                          STERN
                                                                                                             DF|IEOJAnKTNSA
tr The defendsntshall pdy the cost ofplosecution.                                                                JAN2 t ?0I]s
tr 'l hedefendant
               shallpaythcfollowingcourtcost(s):
                                                                                     ry
                                                                                                                  CHBIS
                                                                                                                     R.JofiNsrjit,
                                                                                                                                CtFiil{


n Thedcfcndantshallfortbitthedefendanl's
                                      interest
                                             in thefollowingproperty
                                                                   to thoIJnitcdSlates:
                                                                                                                      DEFUry
                                                                                                                          OLENK




l3,yntenlsshall.be appliedin the followingordcr;( l) assessment,(2) rcstirutionprincipal,(3) rcstitutioninterest,(4) fine principat,
(J) Irncrntcrestr(6) comn)unity rcstrlutron,
                                          (7) penaltics,and(8) costs,including  costbfprbiecutionandcor.rrt   cirits.
